                 Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 1 of 29




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 8                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 9
     MICHAEL WALKER and COURTNEY
10   WALKER, on behalf of themselves and all
     others similarly situated,                           No.
11
                                    Plaintiffs,           CLASS ACTION COMPLAINT
12
            v.
13                                                        JURY TRIAL DEMAND
     WEYERHAEUSER COMPANY,
14
                                     Defendant.
15

16

17
            Plaintiffs Michael and Courtney Walker (collectively, “Plaintiffs”), through their
18
     undersigned counsel, on behalf of themselves and all others similarly situated, bring this action
19
     against Defendant Weyerhaeuser Company (“Weyerhaeuser” or “Defendant”).                          In support
20
     hereof, Plaintiffs allege as follows:
21
                                       NATURE OF THE ACTION
22
            1.      Plaintiffs bring this class action against Weyerhaeuser individually and on behalf
23
     of all persons and entities who own or who have signed contracts to purchase homes or other
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     structures located in the State of Ohio and across the United States in which Weyerhaeuser’s
25
     TJI Joists with Flak Jacket Protection (the “Joists”) are or were installed (the “Class members”).
26

27
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 1          2.      This lawsuit arises out of damages sustained by Plaintiffs and the Class members
 2   that were proximately caused by Weyerhaeuser’s defective Joists used in the construction of
 3   Plaintiffs’ and Class members’ homes and other structures.
 4          3.      Weyerhaeuser manufactured the defective Joists, and since at least December
 5   2016, sold and distributed the Joists throughout Ohio and the United States for installation in
 6   homes and other structures. At all times, Weyerhaeuser marketed and represented, on its
 7   website and marketing materials, the Joists as possessing “[a]ll the quality and cost-efficiency
 8   you expect from [Weyerhaeuser’s] Trus Joist engineered lumber products.” Weyerhaeuser
 9   touted the Joists to be “[e]xtremely durable,” “not requir[ing] special handling or storage.”
10   Weyerhaeuser sold the Joists with a fully transferable warranty that warranted against
11   “manufacturing defects” and remained in effect for “the lifetime of the structure.” (Exhibit A.)
12          4.      Despite these representations that were uniformly made to all customers, the
13   Joists are defectively designed and defectively manufactured, such that they emit noxious and
14   toxic gases that are harmful to humans.          The Joists’ “Flak Jacket” coating includes a
15   formaldehyde-based resin that results in the “off-gassing” of formaldehyde far in excess of
16   acceptable levels and causes other serious air quality issues.
17          5.      Short-term human exposure to formaldehyde for periods as short as 15 minutes
18   has been shown to cause respiratory irritation, headaches, coughing, dizziness, and nausea.
19   Chronic and long-term exposure to formaldehyde is linked to increased risk of cancer of the
20   nose and sinuses, nasopharyngeal and oropharyngeal cancer, lung cancer, and leukemia.
21   Formaldehyde also causes burning eyes, nose and throat irritation, and joint pain. It has also
22   been linked to the exacerbation of asthma in formaldehyde-sensitive individuals and poses a
23   particularly acute risk to children.
24          6.      The defective nature of the Joists is so severe that Plaintiffs’ and Class members’
25   homes and other structures were rendered uninhabitable. Immediate repair, removal and/or
26   replacement of the Joists was required.
27
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 1             7.      Recognizing the serious, dangerous problems with the Joists, Weyerhaeuser
 2   “halted all production, sales and shipments of the product.”1 Occupants of homes containing the
 3   Joists have been advised to vacate their residences.
 4             8.      Plaintiffs seek to recover, for themselves and the Class members, all costs
 5   associated with repairing, removing and/or replacing the Joists, and all costs of repairing any
 6   related damage to other property. Plaintiffs and the Class members also seek damages for loss
 7   of use and for diminution of the value and future value of their homes and all out-of-pocket
 8   expenses related to dealing with these problems, including, without limitation, expenses related
 9   to delays in settlement and relocation expenses, as well as time spent away from work to
10   address these issues. Plaintiffs also seek injunctive relief requiring Weyerhaeuser to pay for
11   ongoing monitoring of the formaldehyde levels in Plaintiffs’ and Class members’ homes and for
12   appropriate medical monitoring. Plaintiffs further seek a Court order requiring Weyerhaeuser to
13   modify its warranty claims process to uniformly provide relief in accordance with all of its
14   obligations under the law, and a declaration from the Court concerning the defective nature of
15   the Joists.
16                                              PARTIES
17             9.      Plaintiffs Michael and Courtney Walker own property in Ohio containing the
18   Joists.
19             10.     Defendant Weyerhaeuser Company is a Washington corporation with its
20   principal place of business located at 220 Occidental Ave. S., Seattle, WA 98104.
21   Weyerhaeuser is one of the world’s largest forest products companies, owning or controlling
22   12.4 million acres of timberlands in the United States, and managing additional timberlands
23   under long-term licenses in Canada. In 2017, Weyerhaeuser generated approximately $7.2
24   billion in sales.
25

26
     1
        http://investor.weyerhaeuser.com/2017-07-18-Weyerhaeuser-issues-statement-regarding-TJI-
27   R-Joists-with-Flak-Jacket-R-Protection (last visited Oct. 19, 2018).
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 1                    FACTUAL ALLEGATIONS RELATED TO PLAINTIFFS
 2           11.     Michael and Courtney Walker are the original owners of a Lithopolis, Ohio
 3   home built in 2017 with Weyerhaeuser’s TJI Joists with Flak Jacket Protection.
 4           12.     The Walkers settled on and moved into their new house with their newborn
 5   daughter on June 29, 2017.
 6           13.     During the week of July 18, 2017, the Walkers were notified of a “chemical
 7   leakage” coming from the Joists in their new house, but were not immediately relocated.
 8           14.     For 42 days, the Walkers resided in the house with the Joists. During this time,
 9   Ms. Walker and her daughter experienced symptoms common to formaldehyde exposure
10   including irritated eyes, severe allergy-like symptoms, headaches, nausea, restlessness, and
11   congestion. They are concerned about the long-term ramifications of living in a home where
12   formaldehyde was off-gassed, especially on their daughter who was less than one year old at the
13   time.
14           15.     On or about August 10, 2017, Defendant relocated the Walkers to temporary
15   housing while their Joists were remediated using the cyroblasting method. The Walkers would
16   remain in temporary housing for the next 134 days.
17           16.     During their relocation, the Walkers incurred a number of damages and
18   inconvenience, including but not limited to taking their daughter to a sitter (she would otherwise
19   have been cared for in the home), spending additional time and expense commuting to work,
20   and regular phone calls and emails with Weyerhaeuser’s representatives regarding the
21   remediation work underway at their home.
22           17.     The presence of the Joists has diminished the resale value of the Walkers’ new
23   home.
24           18.     The presence of the Joists will necessitate ongoing monitoring to ensure that the
25   home does not have dangerous levels of formaldehyde. Medical monitoring for the Walkers
26   and their daughter is also necessary given their exposure to dangerous and unsafe levels of
27   formaldehyde gases.
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 1          19.     The Walkers have incurred lost time and expenses in dealing with the problems
 2   caused by the Joists, and have incurred other damages, including loss of enjoyment and use of
 3   their home, while paying a mortgage on a home which they could not live in. Among other
 4   things, the Walkers had to cancel small church group meetings they usually hold at their home.
 5                                   JURISDICTION AND VENUE
 6          20.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(d). The
 7   matter in controversy in this class action exceeds $5,000,000.00 exclusive of interest and costs,
 8   and Plaintiffs and members of the Classes are citizens of a state other than the state in which
 9   Defendant is incorporated and has its primary place of business.
10          21.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because: (a) a substantial part
11   of the events giving rise to this action occurred in this District; and (b) Defendant’s
12   headquarters and principal place of business is located in this District.
13                               WEYERHAEUSER’S MISCONDUCT
14
     I.     Weyerhaeuser Misrepresented The Joists’ Characteristics And Breached Its
15          Warranties To The Class

16          22.     Weyerhaeuser’s TJI Joists with Flak Jacket Protection are part of its Trus Joist

17   floor system, which, according to Weyerhaeuser, is a result of “[m]ore than 50 years of wood

18   research and technology.” Weyerhaeuser has represented that “a survey of builders” determined

19   that “TJI joists were the number one brand in quality, familiarity and usage.”

20          23.     Flak Jacket is a Weyerhaeuser “proprietary, factory-applied coating” that

21   purportedly “enhances the joist’s fire resistance.”

22          24.     Weyerhaeuser owns and controls the formula and specifications for the Flak

23   Jacket coating, and at all times oversaw and was responsible for the development and

24   manufacture of the TJI Joists with Flak Jacket Protection.

25          25.     Since at least December 1, 2016, and until Weyerhaeuser was forced to halt

26   production of the Joists, Weyerhaeuser coated the Joists with a Flak Jacket coating that includes

27   a formaldehyde-based resin.

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 1             26.     Weyerhaeuser sold or distributed the Joists throughout Ohio and the United
 2   States for installation in homes and other structures, including homes where families, senior
 3   citizens and children reside.
 4             27.     Marketing materials obtained from Weyerhaeuser’s own website represent that
 5   its Joists “offer the high-performance flooring [consumers] rely on with the fire-resistance that
 6   new regulations require,” “do[] not require special handling,” and are “backed by Weyerhaeuser
 7   support.”
 8             28.     Weyerhaeuser’s sales brochures and marketing literature, that were widely
 9   distributed to building professionals who installed the Joists, and that were available to
10   Plaintiffs and the Classes at the time of sale, similarly tout the superior characteristics of the
11   Joists.
12             29.     Plaintiffs and the Classes, and their builders, relied on Weyerhaeuser’s
13   representations and advertising concerning the Joists when they purchased the Joists.
14             30.     Weyerhaeuser’s competitors and other business partners, including within the
15   State of Washington, were injured by its conduct.
16             31.     Weyerhaeuser widely advertises that its Joists carry a lifetime warranty.
17   Building professionals and consumers appropriately and reasonably interpret Weyerhaeuser’s
18   warranty and representations to mean that the product should not need to be replaced during the
19   lifetime of a home or other structure in which the Joists are installed.
20             32.     Weyerhaeuser’s lifetime warranty is attached hereto as Exhibit A. The warranty
21   guarantees against “manufacturing defects for the lifetime of the structure.” The warranty also
22   states that “Weyerhaeuser will pay reasonable cost of labor and material for the repair or
23   replacement of the covered Joists, not to exceed 3 times the original purchase price of the Joist.”
24             33.     Given that the Joists need to be immediately repaired, removed and/or replaced,
25   the Joists have not lived up to Weyerhaeuser’s representations and warranties.
26

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 1   II.    Weyerhaeuser’s Joists Are Defective
 2          34.     Because of a defect in the design, formulation, and manufacture of the Joists, the
 3   Joists emit excessive levels of noxious and toxic gases. These dangerous gases render the
 4   homes and other structures in which the Joists are installed uninhabitable and pose a serious
 5   safety risk to those who enter these homes and other structures.
 6          35.     These defects have manifested themselves uniformly in the Joists installed in the
 7   homes and other structures of Plaintiffs and the Classes.
 8          36.     At present, there are thousands of Class members, including Plaintiffs, whose
 9   homes and other structures incorporate Weyerhaeuser’s defective Joists and who have observed
10   or otherwise experienced the uniform defects described herein.
11          37.     Some of the homes and structures at issue were tested by builders and customers
12   and evidenced the defect with the Joists, as described herein.
13          38.     As a direct result of the readily observable and uniform defects inherent in the
14   Joists, Weyerhaeuser halted all production, sales and shipments of the Joists and referred to the
15   Joists as “temporarily discontinued.” To date, Weyerhaeuser has not reintroduced the Joists to
16   the marketplace.
17   III.   The Remedies Provided By Weyerhaeuser’s Warranty Are Inadequate
18          39.     Weyerhaeuser’s warranty is grossly inadequate considering the uniform serious
19   problem with the Joists and the immediate safety risks they present to humans. Weyerhaeuser’s
20   warranty purportedly limits Plaintiffs’ and Class members’ recovery to the “reasonable cost of
21   labor and material for the repair or replacement of the covered Joists, not to exceed 3 times the
22   original purchase price of the Joist.” In fact, the repair, removal and/or replacement of already-
23   installed Joists costs far in excess of three times the purchase price of the Joists alone.
24          40.     Weyerhaeuser’s failure to appropriately address on a class-wide basis the defects
25   inherent in its Joists, that have foreseeably resulted in the problems described herein, constitutes
26   a breach of its express warranties to Plaintiffs and the Classes. Moreover, Weyerhaeuser’s
27
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                   Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 8 of 29




 1   affirmative representations as to the quality of its defective Joists constitute an actionable
 2   misrepresentation of material fact.
 3           41.     Weyerhaeuser warranted and advertised to contractors, subcontractors, Plaintiffs,
 4   and the Classes, the quality of its Joists even though it reasonably should have known that the
 5   Joists were defectively designed and manufactured.
 6           42.     As a direct and proximate result of Weyerhaeuser’s Joists being installed in the
 7   homes and other structures of Plaintiffs and the Classes, Plaintiffs and the Classes have suffered
 8   damages, in that the Joists have emitted noxious and toxic gases that make people sick and
 9   render the homes and other structures uninhabitable, and in that the presence of the Joists, even
10   if remediated, diminishes the value of the homes and other structures in which they are
11   installed.
12           43.     To the extent that Weyerhaeuser’s warranty purports to limit or eliminate certain
13   contractual rights afforded to Plaintiffs (e.g., on the type of recoverable damages or the ability
14   to recover property damages and other types of damages), such limitations are unconscionable
15   and unenforceable under the circumstances.
16   IV.     The Remedies Purportedly Offered By Weyerhaeuser are Insufficient
17           44.     In a July 18, 2017 press release, Weyerhaeuser admitted the defective nature of
18   the Joists was caused by the Joists’ “Flak Jacket coating that included formaldehyde-based
19   resin.” In the same press release, Weyerhaeuser asserted that it was “working proactively with
20   its customers to address this situation and will cover the cost to either remediate or replace
21   affected joists.” However, its remediation and replacement options are insufficient and will not
22   make Plaintiffs and the Classes whole.
23           45.     For example, with respect to Weyerhaeuser’s purported first remediation option,
24   Weyerhaeuser proposed simply applying a paint coating to the Joists, which Weyerhaeuser
25   asserts will bind the formaldehyde and reduce emissions. While Weyerhaeuser maintains that it
26   has successfully tested this method, it has not been subjected to long-term testing and there is no
27   proof that this technique will remain effective in the field. Further, this proposed method of
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 1   remediation (which would be a much cheaper fix by Weyerhaeuser) was quickly rejected by
 2   professionals in the building trades. Even after submitting to this remediation method, Plaintiffs
 3   and Class members may still be exposed to harmful gases emitting from the Joists.
 4   Additionally, the value of the homes and other structures of Plaintiffs and the Classes will be
 5   permanently diminished by the continued presence of the defective Joists.
 6          46.     Due to dissatisfaction with Weyerhaeuser’s first remediation option, a second
 7   purported remediation option was introduced. This method – which was used in the Walkers’
 8   home – consists of scraping and cryoblasting a majority of the Flak Jacket coating off of the
 9   Joists and then applying the paint coating to the Joists. As with the first remediation option, this
10   second option has not been subjected to long-term testing and there is no proof that this
11   technique will remain effective in the field. Additionally, the value of the homes and other
12   structures of Plaintiffs and the Classes will be permanently diminished by the continued
13   presence of the defective Joists.
14          47.     Weyerhaeuser’s proposed replacement option also fails to adequately address
15   and cover the numerous complications and ancillary costs involved.                          For example,
16   Weyerhaeuser has told owners of homes with the defective Joists that they will be responsible
17   for retaining their own engineers to confirm the structural integrity of homes once the Joists are
18   replaced.
19          48.     Plaintiffs and Class members deserve full compensation for the delay in their
20   ability to occupy their homes, including, without limitation, reimbursement for the expense and
21   inconvenience of having to deal with this issue, finding alternative living arrangements on short
22   notice, and all of the time and associated expenses.
23          49.     Class members who have already moved into homes containing the Joists have
24   been subjected to numerous other harms as a result of the defective Joists, including, without
25   limitation, headaches, stinging and tearing eyes, dizziness, nausea, coughing and wheezing, and
26   asthma-type symptoms.
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 1           50.      In addition, formaldehyde is a known carcinogen, meaning it contributes to
 2   causing cancer in humans.
 3                                    CLASS ACTION ALLEGATIONS
 4           51.      This action has been brought and may be properly maintained as a nationwide
 5   class action pursuant to Fed. R. Civ. P. 23, on behalf of the following class:
 6
                      All persons and entities who own or who signed contracts to
 7                    purchase homes or other structures located in the United States in
                      which Weyerhaeuser TJI Joists with Flak Jacket Protection are or
 8                    were installed (the “Class”). Excluded from the Class is
                      Defendant and Defendant’s legal representatives, assigns and
 9                    successors.
10           52.      This action has also been brought and may be properly maintained as an Ohio
11   class action pursuant to Fed. R. Civ. P. 23 on behalf of the Ohio Class defined as follows:
12
                      All persons and entities who own or who signed contracts to
13                    purchase homes or other structures located in the State of Ohio in
                      which Weyerhaeuser TJI Joists with Flak Jacket Protection are or
14                    were installed (the “Ohio Class”). Excluded from the Class is
                      Defendant and Defendant’s legal representatives, assigns and
15                    successors.
16           53.      The Class and the Ohio Class are collectively referred to below as the “Classes.”
17   Plaintiffs reserve the right to redefine the Classes prior to class certification.
18           54.      Members of the Classes are so numerous that their individual joinder is
19   impracticable.        The Ohio Class has hundreds of members and the nationwide Class has
20   thousands of members.
21           55.      There are numerous questions of law and fact common to Plaintiffs and the
22   Classes, that predominate over any questions that may affect individual Class members,
23   including, but not limited to:
24                    a)       whether the Joists are defective;
25                    b)       whether the Joists are subject to emitting formaldehyde-based and other
26   harmful and/or toxic gases, and are not suitable for use as advertised, marketed and warranted;
27
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 1                  c)      whether Weyerhaeuser knew or should have known of the defective
 2   nature of the Joists prior to putting them into the stream of commerce for purchase by Plaintiffs
 3   and the Classes;
 4                  d)      whether Weyerhaeuser properly and timely provided notice and advised
 5   all affected consumers about the problems with the Joists;
 6                  e)      whether Weyerhaeuser owed a duty to Plaintiffs and the Classes to
 7   exercise reasonable and ordinary care in the formulation, testing, design, manufacture,
 8   warranting, distribution, marketing, and sale of the Joists;
 9                  f)      whether Weyerhaeuser breached its duty to Plaintiffs and the Classes by
10   designing, manufacturing, advertising, and selling to Plaintiffs and the Class members defective
11   Joists, and by failing promptly to remove the Joists from the marketplace or take other
12   appropriate remedial action;
13                  g)      whether the Joists will continue to exhibit the defect over time;
14                  h)      whether the Joists will continue to exhibit the defect over time despite
15   proposed remediation remedies such as Weyerhaeuser’s proposed “paint protocol”;
16                  i)      whether the Joists fail to perform in accordance with the reasonable
17   expectations of ordinary consumers;
18                  j)      whether the Joists fail to perform as advertised, marketed and warranted;
19                  k)      whether Weyerhaeuser breached its express warranties to Plaintiffs and
20   the Classes by advertising, marketing and selling defective Joists to Plaintiffs and the Classes;
21                  l)      whether Weyerhaeuser breached its implied warranties to Plaintiffs and
22   the Classes by advertising, marketing and selling Joists that were not of a merchantable quality,
23   and that were not fit for the ordinary purpose for which they were sold;
24                  m)      whether Plaintiffs and the Classes are entitled to compensatory damages,
25   and the amount of such damages for the removal and replacement of the defective Joists;
26                  n)      whether Plaintiffs and the Classes are entitled to consequential and
27   ancillary damages relating to the defective Joists;
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 1                   o)     whether Plaintiffs and the Classes are entitled to ongoing testing and
 2   monitoring of the formaldehyde levels in their homes and of their exposure to formaldehyde;
 3                   p)     whether Weyerhaeuser’s representations regarding the quality of its
 4   Joists, and its omissions and concealment of facts to the contrary regarding the defective Joists,
 5   constitute violations of applicable consumer protection laws and other applicable statutes; and
 6                   q)     whether Weyerhaeuser should be required to notify all Class members
 7   about the defective Joists.
 8          56.      Plaintiffs’ claims are typical of the claims of the members of the Classes. As a
 9   result of the uniform defects inherent in the Joists’ formulation, the defective Joists have caused
10   Plaintiffs and all members of the Classes to suffer damages.
11          57.      Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs
12   have retained counsel with substantial experience in prosecuting nationwide, multistate and
13   state law consumer class actions. Plaintiffs and their counsel are committed to prosecuting this
14   action vigorously on behalf of the Classes they represent, and have the financial resources to do
15   so. Neither Plaintiffs nor their counsel have any interest adverse or antagonistic to those of the
16   Classes.
17          58.      Plaintiffs and the members of the Classes have all suffered and will continue to
18   suffer harm and damages as a result of Weyerhaeuser’s conduct as described herein. A class
19   action is superior to other available methods for the fair and efficient adjudication of the
20   controversy. Absent a class action, the vast majority of Class members likely would not be in a
21   position to litigate their claims individually and would have no effective remedy at law through
22   which to vindicate their claims against Weyerhaeuser and be made whole. Class treatment of
23   predominating common questions of law and fact is also superior to multiple individual actions,
24   in that class treatment would conserve the resources of the courts and the litigants, and will
25   further the efficient adjudication of Class members’ claims.
26

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 1                                      CAUSES OF ACTION
                                             COUNT I
 2
                                   BREACH OF EXPRESS WARRANTY
 3          59.      Plaintiffs incorporate by reference each preceding and succeeding paragraph as
 4   though fully set forth herein.
 5          60.      Weyerhaeuser marketed and sold its Joists into the stream of commerce with the
 6   intent that the Joists would be purchased by contractors, subcontractors and end-users for
 7   installation in homes and other structures owned and purchased by Plaintiffs and the Classes.
 8          61.      Prior to filing this lawsuit, Plaintiffs provided written notice to Weyerhaeuser of
 9   the breach of warranty.
10          62.      Weyerhaeuser expressly warranted in writing that its Joists are well-suited as a
11   building material with a useful life matching the lifetime of the structure in which the Joists are
12   installed. For purchasers of the Joists or of homes and other structures with the Joists, these
13   warranties became part of the basis of the bargain and Plaintiffs and the Classes relied upon the
14   representations and warranties.
15          63.      Pursuant to Weyerhaeuser’s express warranty, Weyerhaeuser is to pay costs for
16   repair or replacement of the defective Joists. In exchange for these duties and obligations,
17   Weyerhaeuser received payment of the purchase price for the Joists from Plaintiffs and the
18   Classes.
19          64.      Weyerhaeuser created additional express warranties for the Joists through its
20   sales brochures, catalogs, website and marketing materials. These warranties have full force
21   and effect, notwithstanding any limitations in the “limited warranties” from Weyerhaeuser.
22          65.      Weyerhaeuser made the express warranties to the ultimate consumers, including
23   Plaintiffs and the Classes.
24          66.      The limitations and exclusions in Weyerhaeuser’s warranties are unconscionable
25   and unenforceable.
26

27
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                  Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 14 of 29




 1          67.      The consequential or incidental losses sustained by Plaintiffs and the Classes are
 2   within the contemplation of the parties, and therefore should not be prohibited when such
 3   bargained for remedy fails of its essential purpose.
 4          68.      Weyerhaeuser’s purported “limited warranty” fails of its essential purpose in that
 5   it limits recovery to a multiple of the purchase price of the Joists themselves when adequate
 6   repair, replacement and/or removal of the Joists will cost far in excess of the limited amount.
 7          69.      Because Weyerhaeuser’s warranty fails in its essential purpose, Plaintiffs and the
 8   Classes are entitled to recover available damages.
 9          70.      Weyerhaeuser’s Joists were defective at the time they were acquired by Plaintiffs
10   and members of the Classes, and they were defective at the time they were acquired by
11   Plaintiffs and the Classes’ builders.
12          71.      Weyerhaeuser failed to perform as required under its purported warranties and
13   breached said contracts and agreements by providing Plaintiffs and the Classes with Joists that
14   were defective and unfit for their intended use and did not perform as promised, and failed to
15   appropriately replace the Joists or otherwise provide relief.
16          72.      The Joists fall well short of the lifetime guarantee as their defective nature is
17   evident immediately upon installation of the Joists or occupation of the structure.
18          73.      Weyerhaeuser breached its express warranties to Plaintiffs and the Classes by
19   designing, manufacturing, marketing and selling Joists that were defective and not fit for their
20   intended use as durable and long-term home building products. As detailed herein, the Joists
21   did not perform as expressly promised and were fraught with uniform defects.
22          74.      Weyerhaeuser knew that its Joists were defective, yet continued to represent that
23   they were free of defects. Plaintiffs and members of the Classes had no ability to detect the
24   defect nor received notice thereof, and did not receive notice on a timely basis. Based on facts
25   within its control, Weyerhaeuser knew or should have known of the defective nature of the
26   Joists long before its July 18, 2017 press release.
27
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                  Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 15 of 29




 1          75.        Plaintiffs and the Classes have relied on Weyerhaeuser’s express warranties to
 2   their detriment.
 3          76.        Weyerhaeuser’s warranty coverage is inadequate to cover all of the costs of
 4   repairing, replacing and/or removing the defective Joists from the homes and structures of
 5   Plaintiffs and the Classes, and does not compensate Plaintiffs and the Classes for any damages
 6   to their underlying homes and structures caused by the defective Joists, for their consequential
 7   and ancillary damages, and for the diminution in the value of their homes and structures.
 8          77.        Weyerhaeuser is on actual notice of its breaches, as Weyerhaeuser noted in its
 9   own press release that the Joists are defective. In addition, builders and consumers across the
10   United States have put Weyerhaeuser on notice of its breaches.                Furthermore, Plaintiffs
11   provided notice to Weyerhaeuser of its breaches prior to filing this lawsuit.
12          78.        As a result of Weyerhaeuser’s breach of its express warranties, Plaintiffs and the
13   Classes have suffered actual damages, in that they have purchased and installed in their homes
14   and other structures Joists that are defective and not at all suitable for their intended purpose.
15   These defects have caused and will continue to cause Plaintiffs and the Classes to expend
16   substantial resources repairing and/or replacing their Joists and to address any collateral
17   damages to their underlying homes and structures proximately caused by the defective Joists.
18          79.        Plaintiffs and the Classes reserve their rights to seek all damages available by
19   statute or law.
                                     COUNT II
20
                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
21          80.        Plaintiffs incorporate by reference each preceding and succeeding paragraph as
22   though fully set forth herein.
23          81.        Weyerhaeuser designed, manufactured, and sold the Joists knowing that they
24   would be used in constructing consumers’ homes.
25          82.        Weyerhaeuser was a merchant of the Joists and marketed, promoted, and sold the
26   Joists to the consuming public.
27
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                     Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 16 of 29




 1             83.      Weyerhaeuser expected the consuming public, including Plaintiffs, to use the
 2   Joists to construct their homes and such use was reasonably foreseeable. The Joists sold by
 3   Weyerhaeuser were not merchantable at the time Weyerhaeuser sold them.
 4             84.      Weyerhaeuser warranted to the Plaintiffs that the Joists were of a quality that
 5   would pass without objection in the trade and were at least fit for the ordinary purposes for
 6   which such goods were used, and in all other respects were of merchantable quality.
 7             85.      Plaintiffs relied on that warranty.
 8             86.      Weyerhaeuser breached its implied warranty of merchantability because the
 9   Joists were not of merchantable quality and were unfit for the ordinary purposes for which they
10   were designed and were used.
11             87.      Prior to filing suit, Plaintiffs notified Weyerhaeuser of the defective nature of its
12   Joists and of its breach of the implied warranty of merchantability within a reasonable time of
13   its discovery.
14             88.      Given the significance of the Joists to the structure of Plaintiffs’ home and the
15   homes of Class members – supporting the floors – any limitation of remedies claimed by
16   Weyerhaeuser must fail of its essential purpose in that significant damage to property will occur
17   and the replacement of the Joists cannot be accomplished without considerable consequential
18   cost and expense.
19             89.      As a result of Weyerhaeuser’s breach of its implied warranties, Plaintiffs and the
20   Classes have suffered actual damages, in that they have purchased and installed in their homes
21   and other structures Joists that are defective and not at all suitable for their intended purpose.
22   These defects have caused and will continue to cause Plaintiffs and the Classes to expend
23   substantial resources repairing, removing and/or replacing their Joists and addressing any
24   collateral damages to their underlying homes and structures proximately caused by the defective
25   Joists.
26             90.      Plaintiffs and the Classes reserve their rights to seek all damages available by
27   statute or law.
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                                           COUNT III
 1
                      VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
 2                                  (15 U.S.C. § 2301, et seq.)

 3             91.      Plaintiffs incorporate by reference each preceding and succeeding paragraph as

 4   though fully set forth herein.

 5             92.      The Joists are a consumer product as defined in 15 U.S.C. § 2301(1).

 6             93.      Weyerhaeuser is a supplier and a warrantor as defined in 15 U.S.C. §§ 2301(4) &

 7   (5).

 8             94.      The warranty that came with the products constitutes a “written warranty” under

 9   15 U.S.C. §§ 2301(6)(A) and/or (B).

10             95.      Plaintiffs and the Class members are “consumers” as defined in 15 U.S.C. §

11   2301(3). They are consumers because: (a) they are buyers of a consumer product; (b) they are

12   persons entitled under applicable state law to enforce against the warrantor the obligations of its

13   implied warranty; and (c) they are entitled to enforce a written warranty.

14             96.      Pursuant to 15 U.S.C. § 2310(e), although Weyerhaeuser is on written notice of

15   the problems with the Joists and Plaintiffs’ claims, Plaintiffs and the Classes are entitled to

16   bring this class action and are not required to give Weyerhaeuser notice and opportunity to cure

17   until such time as the Court determines the representative capacity of Plaintiffs pursuant to Rule

18   23 of the Federal Rules of Civil Procedure.

19             97.      Weyerhaeuser is liable to Plaintiffs and the Class members pursuant to 15 U.S.C.

20   § 2310(d)(1) because it breached its written warranties as set forth above.

21             98.      In connection with its sales of the Joists, Weyerhaeuser gave an implied warranty

22   as defined in 15 U.S.C. § 2301(7); namely, the implied warranty of merchantability. As a part

23   of the implied warranty of merchantability, Weyerhaeuser warranted that the Joists, among

24   other things, were fit for their ordinary purpose as a safe building product that complies with all

25   applicable laws and regulations. Weyerhaeuser is liable to Plaintiffs and the Classes pursuant to

26   15 U.S.C. § 2310(d)(1) because it breached the implied warranty of merchantability as set forth

27   herein.

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                  Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 18 of 29




 1          99.      Pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and the Class members are entitled
 2   to recover the following damages proximately caused by Weyerhaeuser’s breaches of its written
 3   warranties and the implied warranty of merchantability: (a) direct economic damages at the
 4   point of sale in the amount of the difference in value between the value of the Joists as
 5   warranted (the full purchase price) and the value of the Joists as delivered ($0); and (b)
 6   consequential economic damages at the point of repair in the form of the cost of repair,
 7   replacement and/or removal of the Joists.
 8          100.     In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs and the Class members
 9   are entitled to recover a sum equal to the aggregate amount of costs and expenses (including
10   attorneys’ fees based on actual time expended) determined by the Court to have been reasonably
11   incurred by Plaintiffs and the Class members in connection with the commencement and
12   prosecution of this action.
                                              COUNT IV
13
                                             NEGLIGENCE
14          101.     Plaintiffs incorporate by reference each preceding and succeeding paragraph as
15   though fully set forth herein.
16          102.     Weyerhaeuser designed, developed, formulated, tested, manufactured and sold
17   Weyerhaeuser’s Joists for use and installation in homes and other structures.
18          103.     Weyerhaeuser was negligent in that it failed to use reasonable care when it
19   designed, developed, formulated, tested, manufactured and sold its Joists.
20          104.     Weyerhaeuser’s Joists are unreasonably dangerous when used in homes and
21   other structures.
22          105.     Weyerhaeuser owed a duty to the consuming public to design, develop,
23   formulate, test and manufacture a product reasonably free of defect. Weyerhaeuser further had
24   a duty not to put defective and dangerous products such as its Joists on the market.
25          106.     At the time Weyerhaeuser was selling its Joists, Weyerhaeuser was aware, or
26   reasonably should have been aware, of the foreseeable risks associated with the use of its Joists.
27
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                Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 19 of 29




 1           107.    Weyerhaeuser was negligent and breached its duty to the consuming public,
 2   including Plaintiffs and Class members, by designing, developing, formulating, testing,
 3   manufacturing and selling Weyerhaeuser’s Joists that, under ordinary use in consumers’ homes,
 4   emit noxious gases.
 5           108.    The injuries sustained by Plaintiffs and members of the Classes could have been
 6   reasonably foreseen by Weyerhaeuser.
 7           109.    As a direct and proximate result of Weyerhaeuser’s negligent acts and/or
 8   omissions, Plaintiffs and members of the Classes have incurred and will incur damages in an
 9   amount to be proven at trial.
                                             COUNT V
10
                                     NEGLIGENT FAILURE TO WARN
11           110.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as
12   though fully set forth herein.
13           111.    Weyerhaeuser owed a duty to the consuming public to design, develop,
14   formulate, test and manufacture a product reasonably free of defect.
15           112.    Weyerhaeuser had a duty to disclose to the consuming public the foreseeable
16   risks associated with the use of its Joists.
17           113.    At the time Weyerhaeuser was selling the Joists, Weyerhaeuser was aware, or
18   reasonably should have been aware, of the foreseeable risks associated with the use of its Joists.
19           114.    Weyerhaeuser was negligent in that it knew or, by the exercise of reasonable
20   care, should have known that Weyerhaeuser’s Joists under ordinary use in homes and other
21   structures, might be harmful or injurious to the consuming public, including the Plaintiffs and
22   members of the Classes, but failed to use reasonable care to warn Plaintiffs and members of the
23   Classes and the consuming public of the potentially harmful and injurious effects in the manner
24   that a reasonable person would under the same or similar circumstances.
25

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                Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 20 of 29




 1           115.     Weyerhaeuser failed to exercise reasonable care and give adequate warnings or
 2   instructions to consumers about the reasonably foreseeable dangers that could result from using
 3   Weyerhaeuser’s Joists under reasonably foreseeable conditions.
 4           116.     Consumers occupying and/or purchasing homes were not aware of the dangerous
 5   nature of the Joists.
 6           117.     When the Plaintiffs bought the home containing the Joists, they were not aware
 7   of the dangerous and destructive nature of the Joists and Weyerhaeuser knew or had reason to
 8   know that those consumers would not realize the dangerous condition of the Joists.
 9           118.     Due to Weyerhaeuser’s failure to provide consumers with adequate warnings or
10   instruction about the dangerous nature of the Joists, Plaintiffs and members of the Classes have
11   been and will be harmed. Such harm would not have been suffered if Weyerhaeuser provided
12   adequate warnings or instructions.
13           119.     As a direct and proximate result of Weyerhaeuser’s negligent acts and/or
14   omissions, Plaintiffs and members of the Classes have incurred and will incur damages in an
15   amount to be proven at trial.
                                            COUNT VI
16
                                STRICT LIABILITY – DESIGN DEFECT
17           120.     Weyerhaeuser designed its Joists to be used and installed in the Plaintiffs’ and
18   Class members’ homes and other structures.
19           121.     The design of Weyerhaeuser’s Joists, including the formulation of the coating,
20   was defective.
21           122.     Because of such design defects, the Joists were and are unreasonably dangerous
22   to the consuming public, including Plaintiffs and members of the Classes. The Joists posed a
23   substantial likelihood of harm at the time they were sold.
24           123.     The defect in Weyerhaeuser’s design of the Joists existed at the time the Joists
25   were sold and/or when the Joists left Weyerhaeuser’s possession or control.
26

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                Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 21 of 29




 1          124.    The risks inherent in the design of Weyerhaeuser’s Joists outweigh the benefits
 2   of their design.
 3          125.    Feasible alternatives existed to make Weyerhaeuser’s Joists safer for their
 4   intended use at the time of their design.
 5          126.    The Joists were expected to be and were installed in consumers’ homes and other
 6   structures, including Plaintiffs’ and Class members’ homes, without substantial change in their
 7   condition from the time of their manufacture or sale.
 8          127.    Weyerhaeuser is strictly liable for the injuries that the Joists have caused and will
 9   cause to Plaintiffs and members of the Classes.
10          128.    As a proximate result of Weyerhaeuser’s defective design of the Joists, Plaintiffs
11   and the Classes have incurred and will incur damages in an amount to be proven at trial.
                                              COUNT VII
12
                       STRICT LIABILITY – MANUFACTURING DEFECT
13          129.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as
14   though fully set forth herein.
15          130.    Weyerhaeuser manufactured its Joists to be used and installed in the Plaintiffs’
16   and Class members’ homes and other structures.
17          131.    When the Joists left Weyerhaeuser’s control, they deviated in a material way
18   from their design and/or performance standards. As a result, the Joists were unreasonably
19   dangerous to the consuming public, including the Plaintiffs and members of the Classes.
20          132.    The Joists were defectively manufactured and posed a substantial likelihood of
21   harm at the time they were sold and/or when the Joists left Weyerhaeuser’s possession or
22   control.
23          133.    The Joists were expected to be and were installed in consumers’ homes and other
24   structures, including Plaintiffs’ and Class members’ homes, without substantial change in their
25   condition from the time of their manufacture or sale.
26

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 1          134.    Weyerhaeuser is strictly liable for the injuries that the Joists have caused and will
 2   cause to Plaintiffs and members of the Classes.
 3          135.    As a proximate result of Weyerhaeuser’s defective manufacture of the Joists,
 4   Plaintiffs have incurred and will incur damages in an amount to be proven at trial.
                                               COUNT VIII
 5
                             STRICT LIABILITY – FAILURE TO WARN
 6          136.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as
 7   though fully set forth herein.
 8          137.    Weyerhaeuser designed and manufactured the Joists used and installed in
 9   Plaintiffs’ and Class members’ homes and other structures.
10          138.    When Plaintiffs purchased the home containing the Joists, they were not aware
11   of the dangerous and destructive nature of the Joists. Weyerhaeuser knew or had reason to
12   know that consumers would not realize the dangerous condition of the Joists.
13          139.    Weyerhaeuser did not provide, and the Joists did not contain, adequate warnings
14   and as a result, the Joists were unreasonably dangerous to the consuming public, including
15   Plaintiffs and members of the Classes.
16          140.    The defect in the Joists, including the lack of warnings, existed at the time the
17   Joists were sold and/or when the Joists left Weyerhaeuser’s possession or control.
18          141.    The Joists were expected to be and were installed in consumers’ homes and other
19   structures, including the homes of Plaintiffs and members of the Classes, without substantial
20   change in their condition from the time of their manufacture or sale.
21          142.    Weyerhaeuser is strictly liable for the injuries that its defective Joists and its lack
22   of warnings have caused Plaintiffs and members of the Classes. Such harm would not have
23   been suffered if Weyerhaeuser had provided adequate warnings or instructions.
24          143.    Weyerhaeuser is strictly liable for the injuries that the Joists have caused and will
25   cause to Plaintiffs and members of the Classes.
26

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 1             144.   As a proximate result of Weyerhaeuser’s failure to give adequate warnings or
 2   instructions, Plaintiffs and members of the Classes have incurred and will incur damages in an
 3   amount to be proven at trial.
                                        COUNT IX
 4
               VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
 5                            (Wash. Rev. Code §§ 19.86, et seq.)

 6             145.   Plaintiffs incorporate by reference each preceding and succeeding paragraph as

 7   though fully set forth herein.

 8             146.   The conduct of Weyerhaeuser as set forth herein constitutes unfair or deceptive

 9   acts or practices.

10             147.   Weyerhaeuser’s actions set forth above occurred in the conduct of trade or

11   commerce.

12             148.   Weyerhaeuser’s wrongful conduct occurred in the State of Washington.

13             149.   Plaintiffs and Class members were injured as a result of Weyerhaeuser’s conduct

14   as described at length herein.

15             150.   Weyerhaeuser’s conduct proximately caused the injuries to Plaintiffs and Class

16   members.

17             151.   Weyerhaeuser’s actions have directly and/or indirectly affected the people of the

18   State of Washington in that they have injured Weyerhaeuer’s competitors and other business

19   partners.

20             152.   Weyerhaeuser’s actions were injurious to the public interest because those

21   actions injured other persons.

22             153.   Weyerhaeuser is liable to Plaintiffs and the Class members for damages in

23   amounts to be proven at trial, including attorneys’ fees, costs, and treble damages.

24             154.   Pursuant to Wash. Rev. Code § 19.86.095, Plaintiffs will serve the Washington

25   Attorney General with a copy of this Complaint as Plaintiffs and Class members seek injunctive

26   relief.

27
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                                              COUNT X
 1
                                         UNJUST ENRICHMENT
 2          155.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as
 3   though fully set forth herein.
 4          156.    Substantial benefits have been conferred on Weyerhaeuser by Plaintiffs and the
 5   Classes by purchasing the Joists, and Weyerhaeuser has knowingly and willingly accepted and
 6   enjoyed these benefits.
 7          157.    Weyerhaeuser either knew or should have known that the payments rendered by
 8   Plaintiffs and the Classes were given and received with the expectation that the Joists would
 9   perform as represented and warranted. For Weyerhaeuser to retain the benefit of the payments
10   under these circumstances is inequitable.
11          158.    Weyerhaeuser’s acceptance and retention of these benefits under the
12   circumstances make it inequitable for Weyerhaeuser to retain the benefit without payment of the
13   value to the Plaintiffs and the Classes.
14          159.    Plaintiffs and the Classes are entitled to recover from Weyerhaeuser all amounts
15   wrongfully collected and improperly retained by Weyerhaeuser, plus interest thereon.
16          160.    As a direct and proximate result of Weyerhaeuser’s wrongful conduct and unjust
17   enrichment, Plaintiffs and the Classes are entitled to an accounting, restitution from and
18   institution of a constructive trust disgorging all profits, benefits and other compensation
19   obtained by Weyerhaeuser, plus attorneys’ fees, costs and interest thereon.
20                                            COUNT XI
                               DECLARATORY JUDGMENT ACT
21                                     (28 U.S.C. § 2201, et seq.)
22          161.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

23   though fully set forth herein.

24          162.    Declaratory relief is intended to minimize “the danger of avoidable loss and

25   unnecessary accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller & Mary Kay

26   Kane, Federal Practice and Procedure § 2751 (3d ed. 1998).

27          163.    There is an actual controversy between Weyerhaeuser and Plaintiffs concerning:
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                   Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 25 of 29




 1                    a)     whether the Joists are defectively designed;
 2                    b)     whether Weyerhaeuser knew or should have known of the defects; and
 3                    c)     whether Weyerhaeuser failed to warn against the potential unsuitability
 4                           of its defectively designed and manufactured Joists.
 5           164.     Pursuant to 28 U.S.C. § 2201, the Court may “declare the rights and legal
 6   relations of any interested party seeking such declaration, whether or not further relief is or
 7   could be sought.”
 8           165.     Plaintiffs seek a declaration that the Joists are defective in their design,
 9   workmanship, materials, and labeling, as alleged herein. The defective nature of the Joists is
10   material and requires disclosure to all persons who own the Joists or have entered into
11   agreements or contracts to purchase homes containing the Joists.
12           166.     The declaratory relief requested herein will generate common answers that will
13   settle the controversy related to the alleged defective design, workmanship, materials, and
14   labeling of the Joists and the reasons for their failure. There is an economy to resolving these
15   issues as they have the potential to eliminate the need for continued and repeated litigation.
16                                       PRAYER FOR RELIEF
17           WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes,
18   respectfully request that the Court grant the following relief:
19           A.       Enter an Order certifying the proposed Classes, appointing Plaintiffs as Class
20   Representatives, and appointing the undersigned counsel as Class Counsel;
21           B.       Declare that Weyerhaeuser must notify all Class members of the problems with
22   the Joists;
23           C.       Enter an Order enjoining Weyerhaeuser from further deceptive advertising,
24   marketing, distribution, and sales practices with respect to the Joists, and requiring
25   Weyerhaeuser to remove and replace Plaintiffs’ and Class members’ Joists with suitable
26   alternative joists of Plaintiffs’ and Class members’ choosing;
27
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                    Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 26 of 29




 1             D.      Enter an award to Plaintiffs and the Classes that includes all actual,
 2   compensatory, consequential, ancillary, statutory, exemplary, punitive, or other damages as
 3   allowed by Ohio law or other law, and statutory damages and penalties, including interest
 4   thereon, in an amount to be proven at trial;
 5             E.      Declare that Weyerhaeuser must account for and disgorge, for the benefit of the
 6   Classes, all or part of the ill-gotten profits it received from the sale of its Joists, or order
 7   Weyerhaeuser to make full restitution to Plaintiffs and members of the Classes;
 8             F.      Award pre-judgment and post-judgment interest at the maximum rate allowable
 9   by law;
10             G.      Award reasonable attorneys’ fees and reimbursement of costs incurred by
11   Plaintiffs and their counsel in connection with this action; and
12             H.      Award such other and further injunctive relief, including ongoing monitoring of
13   Class members’ homes, and medical monitoring, as the Court deems just and proper.
14                                            JURY DEMAND
15             Plaintiffs, on behalf of themselves and the members of the proposed Classes, hereby
16
     demand trial by jury on all issues so triable.
17
               RESPECTFULLY SUBMITTED AND DATED this 12th day of November, 2018.
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              Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 27 of 29



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Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 28 of 29




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                           Case 2:18-cv-01637 Document 1 Filed 11/12/18 Page 29 of 29




LIMITED LIFETIME WARRANT Y
Trus Joist® TJI® Joist

What Is Covered?                                                                                  What Weyerhaeuser Will Do
Weyerhaeuser Trus Joist TJI or Silent Floor joists (Joists), when
                                    ®   ®                  ®
                                                                                                  )RUGHODPLQDWLRQVWUDQGRUFRPSRQHQWVHSDUDWLRQLQDGHTXDF\RI
SURSHUO\VWRUHGLQVWDOOHGDVÁRRURUURRIMRLVWVLQDVWUXFWXUH                                GHVLJQYDOXHVDVSXEOLVKHGRUPDQXIDFWXULQJGHIHFWFRYHUHGE\
DQGPDLQWDLQHGSHU:H\HUKDHXVHU·VSXEOLVKHGLQVWUXFWLRQVLV                                     WKLVZDUUDQW\:H\HUKDHXVHUZLOOSD\UHDVRQDEOHFRVWRIODERUDQG
warranted by Weyerhaeuser NR Company (Weyerhaeuser) for                                           PDWHULDOIRUWKHUHSDLURUUHSODFHPHQWRIWKHFRYHUHG-RLVWVQRWWR
DGHTXDF\RIGHVLJQYDOXHVDVSXEOLVKHGE\:H\HUKDHXVHUDQG                                       H[FHHGWLPHVWKHRULJLQDOSXUFKDVHSULFHRIWKH-RLVW
DJDLQVWGHODPLQDWLRQRUPDQXIDFWXULQJGHIHFWVIRUWKHOLIHWLPHRI
WKHVWUXFWXUH7KLVOLPLWHGZDUUDQW\LVWUDQVIHUDEOH                                             What You Must Do
                                                                                                  <RXPXVWQRWLI\:H\HUKDHXVHULQZULWLQJRIDQ\FODLPXQGHUWKLV
'HÀQLWLRQRI&RYHUHG&RQGLWLRQV
                                                                                                  ZDUUDQW\ZLWKLQGD\VRIWKHGLVFRYHU\RIFRYHUHGFRQGLWLRQDW
'HODPLQDWLRQLVGHÀQHGDVDQH[WHQVLYHVHSDUDWLRQRIVWUDQGV                                    WKHIROORZLQJDGGUHVV
ZLWKLQWKH26%ZHERUH[WHQVLYHVHSDUDWLRQRIWKH/9/ÁDQJH
                                                                                                  :H\HUKDHXVHU3URGXFW$VVXUDQFH*URXS
PDWHULDOYHQHHUV0LQRUORFDOL]HGHGJHFKHFNLQJRUORRVHVWUDQGV
                                                                                                  :H\HUKDHXVHU:D\6RXWK
RQWKHVXUIDFHRIWKH26%ZHEGRQRWFRQVWLWXWHGHODPLQDWLRQ
                                                                                                  )HGHUDO:D\:DVKLQJWRQ
QRUGRHVPLQRUHGJHVHSDUDWLRQRIWKH/9/YHQHHUV7KLVZDUUDQW\
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GRHVQRWFRYHUWKHSHUIRUPDQFHRI-RLVWVRXWVLGHWKH86DQG
&DQDGDQRUGHODPLQDWLRQVHSDUDWLRQSHUFHLYHGLQDGHTXDF\RI                                    8SRQUHTXHVW\RXPXVWSURYLGH:H\HUKDHXVHUZLWKUHDVRQDEOH
GHVLJQRUSHUFHLYHGGHIHFWVGXHWR                                                              SURRIRISURGXFWLGHQWLÀFDWLRQLQWKHIRUPRIDVDPSOHDSKRWR
                                                                                                  JUDSKRIWKHLGHQWLI\LQJVWDPSRUGDWHGUHFHLSW$:H\HUKDHXVHU
■    3URORQJHGH[SRVXUHWRZDWHUDIWHUFRPSOHWLRQRIFRQVWUXFWLRQ
                                                                                                  UHSUHVHQWDWLYHPXVWEHJLYHQWKHRSSRUWXQLW\WRREVHUYHRULQVSHFW
     RUORQJFRQVWUXFWLRQGHOD\VÀUHÁRRGVIXQJDOJURZWK
                                                                                                  WKHDIIHFWHGSURGXFWSULRUWRDQ\DOWHUDWLRQFKDQJHRUUHSDLU
     QDWXUDOGLVDVWHURUDQ\RWKHUFDXVHEH\RQG:H\HUKDHXVHU·V
     FRQWURO
                                                                                                  ,QFLGHQWDORU&RQVHTXHQWLDO'DPDJHV
■    'HIHFWVLQWKHVWUXFWXUHGXHWRFRQVWUXFWLRQLQVWDOODWLRQRU
                                                                                                  Weyerhaeuser’s sole responsibility is as set forth in this warranty
     PDQXIDFWXUHGVXEDVVHPEO\
                                                                                                  DQG:H\HUKDHXVHUZLOOQRWEHUHVSRQVLEOHIRULQFLGHQWDOLQGLUHFWRU
■    'DPDJHWRWKHSURGXFWSULRUWRGXULQJRUDIWHULQVWDOODWLRQ                               FRQVHTXHQWLDOGDPDJHV6RPHVWDWHVDQGSURYLQFHVGRQRWDOORZ
                                                                                                  WKHH[FOXVLRQRUOLPLWDWLRQRILQFLGHQWDORUFRQVHTXHQWLDOGDPDJHV
■    1RQFRPSOLDQFHZLWKLQVWDOODWLRQLQVWUXFWLRQVDSSOLFDEOH
                                                                                                  VRWKHDERYHOLPLWDWLRQRUH[FOXVLRQPD\QRWDSSO\WR\RX
     EXLOGLQJFRGHRUJHQHUDOO\DFFHSWHGFRQVWUXFWLRQSUDFWLFHV
■    Any alterations to the Joists after the original installation.                               6WDWH/DZ5LJKWV
■    0ROGIXQJDOGHFD\RUURWWHUPLWHVRUWHUPLWHGDPDJH                                       7KLVZDUUDQW\JLYHV\RXVSHFLÀFOHJDOULJKWVDQG\RXPD\DOVR
                                                                                                  KDYHRWKHUULJKWVZKLFKYDU\IURPVWDWHWRVWDWHDQGSURYLQFHWR
■    3UHVVXUHRUWRSLFDOWUHDWPHQWQRWDSSURYHGE\:H\HUKDHXVHU
                                                                                                  SURYLQFH
1RWH/LNHDQ\ZRRGSURGXFWDOOZRRGEDVHGMRLVWVPD\EHDWULVN
IRUIXQJDOGHFD\RUURWZKHQH[SRVHGWRUHSHDWHGZHWWLQJRUKLJK
PRLVWXUHHQYLURQPHQWVSDUWLFXODUO\LIQRWSURSHUO\YHQWLODWHGRU
VXEMHFWHGWRZDWHUOHDNV)RUWKLVUHDVRQEXLOGLQJFRQVWUXFWLRQ
design and use features must ensure that the Joists are
SURWHFWHGIURPVXFKH[SRVXUHE\DFFHSWHGFRQVWUXFWLRQ
SUDFWLFHVDQGDGKHUHQFHWRDSSOLFDEOHEXLOGLQJFRGHV




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